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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

IN RE:                                                      §
                                                            §              CASE NO. 17-40179
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.                               §
                                                            §
DEBTOR.                                                     §              CHAPTER 7

                                NOTICE OF APPEARANCE AND
                              REQUEST FOR SERVICE OF NOTICES

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, JASON R. SEARCY of SEARCY & SEARCY, P.C., and files this

Notice of Appearance and Request for Service of Papers as the Chapter 11 Trustee for the

Bankruptcy Estates of (1) Payson Operating, LLC; (2) Payson Petroleum, Inc.; and (3) Maricopa

Resources, LLC, and as Counsel for the Chapter 11 Trustee and respectfully requests inclusion

in all notices to creditors and interested persons in the above-referenced proceeding and that the

name and address shown below be added to the docket and list of interested persons to be served

in the above-referenced case.

                                              Searcy & Searcy, P.C.
                                              c/o Jason R. Searcy
                                              P. O. Box 3929
                                              Longview, Texas 75606

         DATED: March 13, 2017.

                                                                 Respectfully submitted,
                                                                 SEARCY & SEARCY, P.C.

                                                                  /S/ Jason R. Searcy
                                                                 JASON R. SEARCY
                                                                 SBN 17953500
                                                                 JOSHUA P. SEARCY
                                                                 SBN 24053468
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                                                                CALLAN C. SEARCY
                                                                SBN 24075523
                                                                Searcy & Searcy, P.C.
                                                                P.O. Box 3929
                                                                Longview, Texas 75606
                                                                Tel. (903) 757-3399
                                                                Fax. (903) 757-9559
                                                                Counsel for Ch. 11 Trustee

                                      CERTIFICATE OF SERVICE

        I, the undersigned, certify that a true and correct copy of the above was served through
electronic mail pursuant to the Electronic Case Management system of the United States
Bankruptcy Court for the Eastern District of Texas on March 13, 2017.

                                                                /S/ Jason R. Searcy
                                                                JASON R. SEARCY
